Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 1 of 21




              SUPPORTING DOCUMENTS
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 2 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 3 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 4 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 5 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 6 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 7 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 8 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 9 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 10 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 11 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 12 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 13 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 14 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 15 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 16 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 17 of 21
Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                           Exhibit Page 18 of 21
                                              Case 19-12706-KCF                           Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06                                                             Desc
                                                                                                 Exhibit Page 19 of 21



                                                        CARRINGTON MORTGAGE SERVICES MFR/NOD REFERRAL SHEET

                                                                   210 ENGLISH PLACE
                                                                   TOWNSHIP OF BERNARDS                                                                                  WILMINGTON SAVINGS FUND SOCIETY, FSB, AS
                                            Property Address                                                                                 Vesting                  TRUSTEE OF, , STANWICH MORTGAGE LOAN TRUST, C
                                                                   NJ 07920


                Mortgager Information                                                                 Loan Type                   Non-DSI
Account #
FHA Case #                                                                                                   MFR Totals
Mortgager                     DAVID G DELAPLAIN                                                       Total Payments Due          $                      8,633.68
Co-Mortgager                  LAURA LEE DELAPLAIN                                                     Uncollected Interest Due    $                           -
Date Last Payment Received    1/13/2020                                                               Total Fees Due              $                      1,150.00 PPFN
Last Payment Amount           $2,100.00                                                               Total Cost Due              $                         20.00 11/25/19-NSF Fee
Current UPB                   $321,534.43                                                             Total Late Charges Due      $                           -
Motion Type                                                                                           Post Suspense Balance                            ($1,567.03)
                                                                                                      Total Due for MFR           $                      8,236.65
                           BK Information
BK Case #                            19-12706                                                         Contractual Due Date                                 3/1/2016
BK Chapter                           13                                                               Post-Petition Due Date                              10/1/2019
BK Filing State                      NJ
Debtor                               DAVID G DELAPLAIN
Co-Debtor                            LAURA LEE DELAPLAIN
                                                                      Payment Due Detail


                  From                             To                             P&I                          Escrow                 Total Payment Amount              # of Missed Payments           Total
                            10/1/2019                   1/1/2020                          $1,632.29                     $526.13                       $2,158.42                                4            $8,633.68




                                                                                                                                                                               Total                       $8,633.68



                          Delinquent Taxes                                                        Corporate Advance Detail
                  Year                          Amount                    Expense Description           Fee Amount                          Cost Amount
                                                                   BPO                             $                 -     $                                   -
                                                                   BK Fees & Costs                 $                 -     $                                   -
                                                                   Property Inspections            $                 -     $                                   -
                                                                   NSF Fees                        $                 -     $                                   -
                                                                   Corporate Advance               $                 -     $                                 20.00 11/25/19-NSF Fee
                                                                   Expense Advance                 $            1,150.00 $                                     -   PPFN
                                                                   Escrow Shortage                 $                 -     $                                   -
                  Total                 $                   -                     Total            $            1,150.00 $                                   20.00
                            Case 19-12706-KCF          Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06                Desc
                                                              Exhibit Page 20 of 21


n                           n                    Post Suspense Balance              -$7,125.07
                                                       Post-
                             Transaction Amount petition Post Amt Due            Contractual                               Posting          Credit to Post
       Transaction Type         Date     Received Due Date         Per PCN       Amt Applied     Principal     Escrow     Over/Short          Suspense
Beginning Balance             2/8/2019     $0.00       2/1/2019                                                                                       $0.00
Post-Petition                   03/01/19   $1,477.55                                                                                              $1,477.55
Post-Petition                   04/03/19   $1,478.00    3/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13         -$680.42              $0.00
Post-Petition                   05/06/19   $1,477.00    4/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13         -$681.42              $0.00
Post-Petition                   06/05/19   $1,477.00                                                                                              $1,477.00
Post-Petition                   07/03/19   $1,477.00    5/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13         -$681.42              $0.00
Post-Petition                   08/05/19   $1,477.00    6/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13         -$681.42              $0.00
Post-Petition                   09/04/19   $1,477.00                                                                                              $1,477.00
Post-Petition                   11/13/19   $2,077.00    7/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13           -$81.42             $0.00
Post-Petition                   12/16/19   $2,100.00    8/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13           -$58.42             $0.00
Post-Petition                   01/13/20   $2,100.00    9/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13           -$58.42             $0.00
Post-Petition Payment Due                              10/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13        -$2,158.42             $0.00
Post-Petition Payment Due                              11/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13        -$2,158.42             $0.00
Post-Petition Payment Due                              12/1/2019     $2,158.42      $2,158.42      $1,632.29    $526.13        -$2,158.42             $0.00
Post-Petition Payment Due                               1/1/2020     $2,158.42      $2,158.42      $1,632.29    $526.13        -$2,158.42             $0.00
                              Case 19-12706-KCF   Doc 30-1 Filed 01/28/20 Entered 01/28/20 14:08:06   Desc
                                                         Exhibit Page 21 of 21




 Debit from Post Suspense
Post Suspense  Balance
       $0.00         $0.00
        $0.00     $1,477.55
     $680.42        $797.13
     $681.42        $115.71
        $0.00     $1,592.71
     $681.42        $911.29
     $681.42        $229.87
        $0.00     $1,706.87
       $81.42     $1,625.45
       $58.42     $1,567.03
       $58.42     $1,508.61
    $2,158.42      -$649.81
    $2,158.42    -$2,808.23
    $2,158.42    -$4,966.65
    $2,158.42    -$7,125.07
